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                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS

                                                 )
 UNITED STATES OF AMERICA                        )       Criminal No. 16-cr-10343-ADB
                                                 )
       v.                                        )       REDACTED; UNREDACTED VERSION
                                                 )       FILED UNDER SEAL
 MICHAEL L. BABICH et al.,                       )
                                                 )
       Defendants.
                                                 )

                DEFENDANTS’ MOTION TO PRECLUDE TESTIMONY
              OR OTHER EVIDENCE RELATING TO THE PROVISION OF
             LEGAL ADVICE TO INSYS AND ITS BOARD OF DIRECTORS

       After several years of steadfastly maintaining its attorney-client privilege, Insys

Therapeutics is now allowing the government, on essentially the eve of trial, access to attorney-

client privileged information that the prosecutors believe furthers their case against Defendants.

At the same time Insys continues to claim that it has not waived its attorney-client privilege. This

has created a scenario where the government plans to selectively use against Defendants certain

information over which Insys holds an attorney-client privilege (the sword), while allowing Insys

to rely on the privilege to prevent Defendants from accessing contradictory and exculpatory

privileged information (the shield). The Court should not tolerate this late-breaking attempt to

prosecute Defendants using selective bits and pieces of Insys’s privileged information. For the

reasons explained below, the Court should preclude the government from eliciting at trial any

testimony regarding privileged communications between Insys or its Board of Directors (“Board”)

and the company’s in-house or outside counsel.

                                       INTRODUCTION

       On January 14, 2019, the government served its revised list of potential trial witnesses. On

the list are three lawyers who formerly worked for Insys: Leslie Zacks, who served as one of

Insys’s outside counsel during the charged conspiracy period and also held a compliance officer
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title; Danielle Davis, a lawyer who served as the company’s Director of Compliance and

coordinated with the company’s outside investigations and compliance counsel Skadden, Arps,

Slate, Meagher & Flom (“Skadden”); and Franc Del Fosse, the company’s former General

Counsel. See Ex. A (government’s revised witness list). Mr. Zacks and Ms. Davis are designated

as “likely” to be called, while Mr. Del Fosse is designated as someone whom the government

“may” call. Id.

       Mr. Zacks and Ms. Davis have sat for lengthy proffer sessions with the government within

the past five weeks. Interview memoranda for those proffer sessions, which Defendants only

recently received, reveal that Insys is allowing its own lawyers to selectively disclose privileged

information to the prosecutors, while still claiming that the company is not waiving the privilege.

Mr. Zacks’s proffer session, for example, appears to have been almost entirely a discussion of legal

advice that he provided Insys employees, managers, executives, and directors before and during

the alleged conspiracy period. And Mr. Zacks turned over to the government his hand-written

notes of a legal presentation he gave to the Insys Board laying out his plan of action for responding

to the government’s subpoena to Insys in this case. Yet, amazingly, Insys’s outside counsel, Geoff

Hobart of Covington & Burling LLP, began the Zacks proffer session by stating that Insys was not

waiving its attorney-client privileged. The prosecutors have not challenged Insys’s change in

position, and are seemingly willing consider “non-privileged” anything that Mr. Hobart is now

willing to call “non-privileged,” regardless of whether Mr. Hobart’s characterizations have any

principled basis. See Ex. B (January 15, 2019 meet-and-confer email from AUSA David Lazarus).

       Throughout this case, Defendants have chosen to respect Insys’s attorney-client privilege.

They have neither subpoenaed Insys for privileged information, nor do they intend to raise an

advice-of-counsel defense at trial. Defendants are deeply disappointed that Insys has decided to




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allow the government to selectively access the company’s privileged information as part of an

effort to convict presumptively innocent people who helped build the company.

       Defendants understand that Insys, as part of its corporate resolution with the Department

of Justice, is obligated to assist the government with its prosecution of Defendants. But an

obligation to cooperate does not permit the Boston USAO to present one-sided testimony about

certain advice that the company and its Board received from its in-house and outside counsel,

while Insys keeps using the shield of privilege to prevent Defendants from meaningfully

challenging that testimony. If a prosecution witness were to testify regarding privileged legal

advice that Insys received before and during the government’s investigation of the company,

Defendants would not be equipped to fully cross-examine those witnesses without having (1)

unfettered access to all Insys documents, including privileged material, that could be used to

impeach the witness’s testimony, and (2) the right to force the witness to provide complete answers

to all cross-examination questions, regardless of whether the questions implicate the company’s

privilege. There are likely tens of thousands of privileged documents in Insys’s possession that

Defendants do not have but that would be relevant to cross examining witnesses’ direct testimony

about privileged matters. Even assuming that the Court has the authority, pursuant to the Fifth and

Sixth Amendments, to order Insys to provide Defendants with open-file access to its privileged

materials, it would be impossible at this late date for Defendants to be prepared to make adequate

use of such voluminous materials at trial.

        Accordingly, the only solution that adequately ensures Defendants’ right to a fair trial is

not violated by the “non-waiver” charade is for the Court to keep the privilege door completely

shut. In short, the Court should preclude the government from eliciting any testimony relating to

legal advice that Insys and its Board received from its in-house or outside counsel. No other




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remedy will adequately protect Defendants’ constitutional rights to a fair trial and to confrontation

of government witnesses.

                                   FACTUAL BACKGROUND

         There is no dispute that Insys’s lawyers and outside counsel provided legal advice to Insys

and its Board both before and throughout the charged conspiracy period. Insys retained Skadden

in December 2013, days after receiving a HIPAA subpoena from the government, to serve as its

outside investigations and compliance counsel. Under the cloak of attorney-client privilege,

Insys’s internal legal team, Leslie Zacks, Danielle Davis, and Franc Del Fosse, worked shoulder-

to-shoulder with Skadden and the Board to detect and remediate any compliance problems.

         Mr. Zacks began serving as Insys counsel long before the government started its

investigation of the company. He served as Insys’s outside general counsel from January 2012

through spring of 2014, providing legal advice to Insys on a variety of issues including the

company’s speaker program, and leading its Compliance Committee. Ms. Davis, a lawyer who

Insys hired as its Director of Compliance in March 2014, worked closely with Skadden, under the

umbrella of the company’s attorney-client privilege, on investigatory and compliance issues

relevant to the charges against Defendants. And Mr. Del Fosse served as the company’s General

Counsel from February 2014 through October 2018, both serving as Skadden’s principal point of

contact and routinely engaging in privileged conversations with company management and its

Board.

         Insys generated and withheld a substantial volume of material on privilege grounds during

the investigation underlying this prosecution. As the government itself has acknowledged, “the

attorney-client privilege belongs to the company” and “Insys has not waived the privilege.” See

Dkt. No. 570 at 4. Insys, through its outside counsel, Geoffrey Hobart, has repeatedly reiterated

the company’s non-waiver, including in very recent government interviews of Insys personnel.

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See, e.g., Ex. C, at 1 (Danielle Davis, FBI memorandum of December 12, 2018 interview).

Defendants respect Insys’s privilege and have represented to the Court that “they do not anticipate

using such privileged materials” at trial. See Dkt. No. 627, at 2.

          But, at the eleventh hour, the government has signaled a different approach. Not only does

the government intend to call a custodian of records from Skadden and all three Insys lawyers as

prosecution witnesses, but its recent proffer sessions confirm that Insys is allowing the government

to selectively use against Defendants information that Insys has previously treated as privileged.

          A prime example is the company’s position with respect to Mr. Zacks. The privilege log

that Skadden provided the government in 2016 clearly identifies Mr. Zacks as “outside counsel,”

and the limited communications involving Mr. Zacks that Skadden produced to the government—

including emails and minutes of Compliance Committee meetings in which Mr. Zacks was

included—were carefully redacted to avoid even a whiff of disclosure of advice that was sought

or received from Mr. Zacks. Yet, during Mr. Zacks’s recent proffer session with the government,

Mr. Hobart allowed Mr. Zacks to disclose the substance of legal advice he claims he provided the

company and its Board throughout the conspiracy period, including at an Insys Board meeting held

three days after the company’s receipt of the HIPAA subpoena that commenced the government’s

investigation of the company. See Ex. D (Leslie Zacks, FBI memorandum of December 20, 2018

interview). And Mr. Zacks turned over to the government his marked-up notes of a legal

presentation he gave to the Insys Board, laying

                                                           , which he

                                                  .” The notes then lay out the legal plan that Zacks

recommended to the Board, as well as the Board’s response. See Ex. E (Zacks Board meeting

notes).




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        As another example, during Ms. Davis’s December 12, 2018 proffer session with the

government, Mr. Hobart, despite his claim that the company is not waiving privilege, allowed Ms.

Davis to answer a variety of questions that she had previously refused to answer, on attorney-client

privilege grounds, in a sworn statement she gave to prosecutors in this case and in a deposition she

sat for in a lawsuit pending in Maryland state court. 1

                                           ARGUMENT

        I.     Insys Cannot Allow the Government To Use Select Privileged Material as Both
               a “Sword” and a “Shield” against Defendants.

        It is well-established that the attorney-client privilege may not be used “as both a sword

and a shield. Were the law otherwise, [parties] could selectively disclose fragments helpful to its

cause, entomb other (unhelpful) fragments, and in that way kidnap the truth-seeking process.” In

re Keeper of Records (Grand Jury Subpoena Addressed to XYZ Corp.), 348 F.3d 16, 24 (1st Cir.

2003); Columbia Data Prod., Inc. v. Autonomy Corp., No. 11-cv-12077-NMG, 2012 WL 6212898,

at *17 (D. Mass. Dec. 12, 2012).          By selectively disclosing privileged material against

Defendants—a last-minute act of cooperation that hands the government the “sword”—while

using a claim of “non-waiver” and the scant time between now and trial as a “shield” to prevent

Defendants from meaningfully challenging the testimony, Insys is enabling the government to do

just that.

        The government should not be allowed to elicit testimony that Defendants cannot

adequately impeach on cross examination because Insys’s attorney-client privilege has prevented

Defendants from accessing the material that would enable the impeachment. In this regard, Insys’s



1
 The government has not produced any memoranda or grand jury testimony for Mr. Del Fosse, so
Defendants do not know what the government might seek to elicit from him if he is called. But
given his position as Insys General Counsel during the alleged conspiracy it is hard to imagine
how his testimony would not implicate privileged communications.

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attorney-client privilege would inherently stymie Defendants’ ability to cross examine Mr. Zacks,

Ms. Davis, and Mr. Del Fosse (if he is called)—even assuming the Court could bar them from

invoking Insys’s attorney-client privilege in response to questions posed to them on cross

examination (an open question in the First Circuit). Any cross of these witnesses would be

profoundly undercut by Defendants’ inability to present exculpatory material that Insys has

deemed subject to attorney-client privilege.

        The Sixth Amendment’s Confrontation Clause guarantees a criminal defendant the right to

cross-examine the witness against him. United States v. Celestin, 612 F.3d 14, 19 (1st Cir. 2010)

(citing Delaware v. Van Arsdall, 475 U.S. 673, 678 (1986)). This right is violated where a

witness’s “assertion of privilege unduly restricts a defendant’s cross-examination,” and in such

circumstances “the witness’ direct testimony may have to be stricken.” United States v. Coven,

662 F.2d 162, 170-71 (2d Cir. 1981) (internal quotations and citations omitted); see also United

States v. Rainone, 32 F.3d 1203, 1206 (7th Cir. 1994) (recognizing that a witness’s invocation of

the attorney-client privilege may, in some circumstances, violation the defendant’s “right of

confrontation”). For the same reason, the Court should preclude a witness from testifying in the

first instance where it is clear that the invocation of the attorney-client privilege by the corporation

for which the employee worked would unduly restrict the defendant from fully testing the

witness’s testimony through cross examination.

        Defendants could not fully cross-examine, and the jury could not fairly evaluate, the

testimony that Mr. Zacks, Ms. Davis, or Mr. Del Fosse—or any other Insys witness for that

matter—might provide regarding attorney-client privileged matters. Because Insys has maintained

attorney-client privilege throughout discovery, Defendants cannot cross-examine these witness on

pertinent legal communications and work product, including their communications with Insys’s

Board, senior management, and outside counsel that directly bear on privileged subject matter that

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the government may seek to elicit from Insys witnesses on direct examination. Nor can Defendants

use Skadden’s communications with Insys’s management and directors to refute testimony that

the government may seek to elicit from witnesses such as Mr. Zacks, Ms. Davis, and Mr. Del

Fosse.

         Ms. Davis, for example, made reference during her December 12, 2018 proffer session to

a number of documents that Defendants have not received in discovery—including work product

she presented to the company’s Board regarding an investigation she performed into the Insys

Reimbursement Center. How could Defendants possibly cross examine Ms. Davis about what

findings she presented to the Board and the advice she provided based on those findings, or put

into context for the jury the Board’s reaction to those findings? And the government has produced

less than thirty (often redacted) emails sent from Leslie Zacks—surely a mere fraction of the

relevant emails he sent during his multi-year tenure as outside general counsel to Insys. How could

Defendants possibly test claims that Mr. Zacks might make about his work at the company?

Moreover, if Mr. Zacks, Ms. Davis, Mr. Del Fosse, or another witness were to testify that Insys’s

Board failed to follow certain advice provided by a lawyer, how could Defendants possibly receive

a fair trial without having the opportunity to impeach that testimony (e.g., by showing that contrary

advice was provided by another company lawyer)? The answer to these questions is clear: if Insys

witnesses are allowed to selectively testify about any matter related to the provision of legal advice

to the company or Board, Defendants will not have the ability to meaningfully cross examine those

witnesses.

         II.    Forcing Insys to Waive Privilege on the Eve of Trial Is No Solution to the
                Problem.

         To be clear, Defendants are not asking the Court to force Insys to waive attorney-client

privilege and provide them with open-file access to the company’s privileged information. This



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is for two reasons. First, Defendants respect the fact that Insys is the holder of the privilege, and

has repeatedly announced its refusal to waive the privilege. Second, Defendants are not relying

on an advice-of-counsel defense. Third, Defendants would be unable to litigate the privilege issues

in full, or to adequately review and synthesize Insys privileged material for exculpatory and

impeachment materials, between now and the start of trial. This is particularly true here, because

the privilege log that Skadden produced to the government during the investigation appears

woefully incomplete, preventing it from serving as a road map that Defendants could use to

identify in any targeted fashion privileged materials that might be especially pertinent to the

witness testimony. 2

       Accordingly, the only way to protect Defendants’ Fifth Amendment right to a fair trial and

Sixth Amendment right to fully cross examine all of the government’s witnesses is to prevent the

government from presenting testimony or evidence relating to legal advice that Insys and its Board

received from its in-house and outside counsel. None of the government’s witnesses should be

allowed to testify to any communications they made to the company or the Board in conjunction

with the provision of legal advice, or to any documentation or recollection related to such advice.

In the case of Mr. Zacks and Mr. Del Fosse, based on the information the government has turned

over to date, the Court should preclude their testimony in full. In the case of Ms. Davis, the Court

should substantially constrain her testimony so she does not opine on any topics on which she

previously invoked Insys’s privilege.




2
  Defendants’ understanding is that the privilege log that Skadden provided to the government
during the underlying investigation was the product of negotiation, and it clearly was never
intended to be a full list of all privileged communications that might be relevant to Defendants’
cross examination of government witnesses.

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                                      CONCLUSION

      For the foregoing reasons, the Court should grant Defendants’ motion.

Dated: January 15, 2019                                 Respectfully submitted,

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                            LOCAL RULE 7.1 CERTIFICATION

       Pursuant to Local Rule 7.1, I hereby certify that counsel for Defendants have conferred
with counsel for the government and that counsel for the government objects.

                                             /s/ Beth A. Wilkinson

                                CERTIFICATE OF SERVICE

       I, Beth A. Wilkinson, hereby certify that a true and correct copy of this document filed
through the ECF system will be sent electronically to the registered participants as identified on
the Notice of Electronic Filing (NEF) on January 15, 2019.

                                             /s/ Beth A. Wilkinson




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